 1                                                                        Honorable Christopher M. Alston
                                                                                                Chapter 7
 2
                                                                                         Location: Seattle
 3
                                 UNITED STATES BANKRUPTCY COURT
 4                               WESTERN DISTRICT OF WASHINGTON
 5
      In re:                                              No. 17-14070
 6
      REYNALDO VINLUAN,
 7
 8                                     Debtor.

 9    EDMUND J. WOOD, Trustee of the Estate of
      Mark and Daina Carter,                              Adv. No. 18-01026
10
11                                     Plaintiff,         DECLARATION OF MAILING

12    vs.

13    UNITED PACIFIC MORTGAGE INC., a
      Washington corporation; AVENTUS INC., a
14
      Nevada corporation; MORTGAGE
15    ELECTRONIC REGISTRATION SYSTEMS
      INC., a Delaware corporation doing business
16    in the State of Washington; and LCS
      FINANCIAL SERVICES CORPORATION,
17    a Colorado corporation doing business in the
18    State of Washington,

19                                     Defendants.

20
21             I, Christopher Williams, declares and states as follows:

22             1.     I am over the age of eighteen years, a citizen of United States, not a party herein,

23   and am competent to testify to the facts set forth in this Declaration.
24
     //
25
     //
26
     //
27
                                                                                  KATHRYN A. ELLIS, ESQ.
28                                                                                       5506 6th Ave S
                                                                                            Suite 207
                                                                                       Seattle, WA 98108
     DECLARATION OF MAILING - 1                                                         (206) 682-5002


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 1          2.      That on the 28th day of March, 2018 copies of the Complaint to Avoid Second
 2
     Position Lien and the issued Summons in an Adversary Proceeding were deposited in the United
 3
     States mail by first class mail, postage prepaid, to the following parties:
 4
     United Pacific Mortgage Inc.
 5   c/o Richard Todhunter, Registered Agent
 6   10003 65th Ave S
     Seattle, WA 98178
 7
     Aventus Inc.
 8   c/o Adam Greenhalgh, Registered Agent
     2901 S 128th St, Suite 2000
 9
     Seattle, WA 98168
10
     Aventus Inc.
11   c/o Budget Corporate Renewals Inc., Registered Agent
     PO Box 27103
12   Las Vegas, NV 89126
13
     Mortgage Electronic Registration Systems Inc.
14   c/o Robert Jacobsen, Registered Agent
     93 S Jackson St, Dept. 37265
15   Seattle, WA 98104
16
     Mortgage Electronic Registration Systems Inc.
17   c/o The Prentice-Hall Corporation System Inc., Registered Agent
     251 Little Falls Dr
18   Wilmington, DE 19808
19   Mortgage Electronic Registration Systems Inc.
20   c/o The Corporation Trust Company, Registered Agent
     Corporation Trust Center 1209 Orange St
21   Wilmington, DE 19801
22   MERSCORP Holdings Inc.
23   c/o RL&F Service Corp., Registered Agent
     920 N King St, Floor 2
24   Wilmington, DE 19801

25   //
26
     //
27
                                                                                   KATHRYN A. ELLIS, ESQ.
28                                                                                        5506 6th Ave S
                                                                                             Suite 207
                                                                                        Seattle, WA 98108
     DECLARATION OF MAILING - 2                                                          (206) 682-5002


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 1   MERSCORP Holdings Inc.
     c/o The Corporation Trust Company, Registered Agent
 2
     Corporation Trust Center 1209 Orange St
 3   Wilmington, DE 19801

 4   LCS Financial Services Corporation
     c/o Registered Agent Solutions Inc., Registered Agent
 5   3400 Capitol Blvd SE, Suite 101
 6   Tumwater, WA 98501

 7   Ocwen Loan Servicing LLC
     c/o Corporation Service Company, Registered Agent
 8   300 Deschutes Way SW, Suite 304
     Tumwater, WA 98501
 9
10             I CERTIFY UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE STATE OF WASHINGTON
               THAT THE FOREGOING STATEMENT IS BOTH TRUE AND CORRECT.
11
               Dated this 28th day of March, 2018 at Seattle, Washington.
12
13
                                                                   By: /s/ Christopher Williams
14                                                                 Christopher Williams
                                                                   Assistant to Kathryn A. Ellis
15   C:\Shared\KAE\Dox\Vinluan\cmp\cmp_mail_dec.wpd


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                                                                                      KATHRYN A. ELLIS, ESQ.
28                                                                                            5506 6th Ave S
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                                                                                            Seattle, WA 98108
     DECLARATION OF MAILING - 3                                                              (206) 682-5002


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